                              UNITED STATES DISTRICT COURT
                                   Western District of Virginia
Julia C. Dudley                     OFFICE OF THE CLERK                             (540) 857-5100
    Clerk                      210 Franklin Road, SW, Room 540
                                    Roanoke, Virginia 24011
                                          April 3, 2019

To all counsel by email through Electronic Noticing:

Re: Ira D. Socol v. Albermarle County School Board et al., Civil Action 318CV90
 Dear Counsel:
        This case has been assigned to Judge Glen E. Conrad. The judge has requested that I be in
touch with the parties to determine a trial date approximately eight to nine months out, unless an
earlier date is requested by the parties.
        For the trial date, please confer among yourselves regarding how many days you think
we’ll need for trial and your availability for the following dates for a jury trial in Charlottesville:

       January 6-10, 2020
       January 21-24, 2020
       February 3-7, 2020
       February 18-21, 2020
       February 24-28, 2020
       March 30-April 3, 2020 or
       April 13-17, 2020.

       If no response is received, we will assume that any dates chosen in these time frames will
be acceptable, and a scheduling order will issue within approximately 10 days. If a later time frame
is needed, please advise.

        I also see that we have a pending motion to dismiss and a motion to strike. I’m waiting to
hear back from the judge as to some travel plans, and will provide hearing dates for that soon, if
parties desire to be heard, rather than submit on pleadings.

        Based on the trial date that is chosen, a pretrial order shall be entered establishing pretrial
deadlines and making other provisions for the development of this case. Further, hearings on
dispositive motions, such as motions to dismiss or for summary judgment, as well as motions
regarding the admissibility of evidence, shall also be scheduled at least thirty days prior to trial.
To schedule any hearings, please email me at susanm@vawd.uscourts.gov, or call (540) 857-5119.

         The court wants all discovery completed and pretrial motions filed within forty-five (45)
days of the trial date. All interrogatories and requests for documents should therefore be served in
sufficient time to give the opposing party time to respond prior to the forty-five (45) days deadline.
Hearings regarding dispositive pretrial motions must be held no later than thirty (30) days prior to
trial, except with the prior approval of the presiding judge.

        Judge Conrad actively promotes alternative dispute resolution in most civil cases.
Generally, the parties may opt to initiate mediation, or some other form of alternative dispute
resolution, prior to the completion of discovery. The court may initiate mediation shortly before,
or shortly following, the scheduled completion of discovery.

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        For more information on mediation, ECF registration, and/or other local rules, the parties
are referred to http://www.vawd.uscourts.gov, the public website of the Clerk’s Office.

       If you feel that the pretrial order in this case should include special provisions, please
contact me by email at susanm@vawd.uscourts.gov or telephone at (540) 857-5119.

                                                    Very truly yours,

                                                    Susan Moody
                                                    Deputy Clerk




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